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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                 )
                                           )
               Plaintiff/Respondent        )
                                           )
               v.                          )          Case No.      09-CR-043-SPF
                                           )
 LINDSEY KENT SPRINGER,                    )
                                           )
               Defendant/Movant.           )


               UNITED STATES’ PRELIMINARY RESPONSE REGARDING
          LINDSEY SPRINGER’S MOTION FOR RELIEF UNDER 28 U.S.C. §2255
             (DOC. NOS. 472 - 475) CONCISELY LISTING THOSE GROUNDS
              FOR RELIEF THAT SHOULD BE STRICKEN OR DISMISSED

        The United States of America, by and through its attorneys, Danny C. Williams,

 Sr., United States Attorney for the Northern District of Oklahoma, Jeffrey Gallant,

 Assistant U.S. Attorney, and Charles A. O’Reilly, Special Assistant United States

 Attorney, hereby files its preliminary response regarding Mr. Springer’s Motion for

 Relief Under 28 U.S.C. § 2255 (doc. nos. 472 - 475) pursuant to the Court’s Order dated

 March 15, 2013 (doc. no. 478) directing the Government to concisely list those grounds

 for relief that should be stricken or dismissed because they were raised and resolved in

 the proceedings in the underlying criminal prosecution, or could have been but were not
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 raised in those proceedings. As more fully detailed herein, all but two grounds raised by

 Mr. Springer should be stricken or dismissed:

        –      Mr. Springer’s appellate counsel rendered ineffective assistance (Ground 61
               and alleged in numerous other grounds);

        –      The Tenth Circuit Court of Appeals’ restriction on Mr. Springer’s appellate
               brief was unconstitutional (Ground 49).

                                     INTRODUCTION

        In his 271 pages of material, Mr. Springer purports to identify 76 separate grounds

 for relief.1 However, many of Mr. Springer’s asserted grounds are both cumulative and

 repetitive, and all were either raised, or could have been raised and resolved, in the

 underlying proceedings, with the exception of two grounds that were neither previously

 raised nor capable of having been previously raised.2 The first of these two grounds is

 Mr. Springer’s assertion that his appellate counsel, Jerold Barringer, rendered ineffective

 assistance. Mr. Springer alleges that appellate counsel was ineffective in more than half




        1
                The number of grounds Mr. Springer asserts for relief is inconsistent.
 Mr. Springer purports to identify 76 grounds for relief, in his Motion Under U.S.C.
 § 2255 to Vacate, Set Aside or Correct a Sentence By a Person in Federal Custody (doc.
 no. 472), and in his Declaration of Lindsey Kent Springer in Support of Motion to Vacate,
 Set Aside, and Correct Conviction, Sentence and Judgment (doc. no. 474). However,
 Mr. Springer identifies 68 grounds for relief in his Memorandum and Breif [sic] in
 Support of Defendant’s Motion to Vacate, Set Aside, and Correct Conviction, Sentence
 and Judgment (doc. no. 473). Furthermore, the specified numbers for the grounds for
 relief in Mr. Springer’s motion (doc. no. 472) and memorandum and brief in support of
 his motion (doc. no. 473) are inconsistent.
        2
                One of the grounds asserted for relief, ground 73, is simply Mr. Springer’s
 assertion of the right to relief pursuant to 28 U.S.C. § 2255. Doc. 472 at 83.

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 of the grounds he purports to identify.3 The second ground is Mr. Springer’s assertion

 that the Tenth Circuit Court of Appeals unconstitutionally limited his appellate brief.

        Under paragraph 9(f) of Mr. Springer’s Motion for Relief Under 28 U.S.C. § 2255

 (doc. no. 472), he identifies only eight grounds raised in his appeal:

        (1) Defendant’s [sic] committed no crime because there is no government entity
        outside of Washington D.C. with the lawfully delegated power to collect taxes or
        enforce the internal revenue laws; (2) the Paperwork Reduction Act precludes
        imposition of all penalties arising from their convictions; (3) the district court erred
        in denying their motion to suppress; (4) the district court erroneously instructed the
        jury as to the definition of gift and income; (5) the district court should have
        allowed defendants to subpoena employees of the Justice Department and the IRS;
        (6) defendant’s [sic] did not waive their right to counsel voluntarily, knowingly
        and intelligently; (7) the district court did not properly calculate their attributable
        tax losses under the sentencing guidelines or properly apply their respective
        sentencing enhancements; (8) Mr. Stilley’s conviction cannot be classified as a
        felony.

 In addition to these eight claims that Mr. Springer concedes he raised on appeal,

 Mr. Springer also raised the following claims: "Count Two violated statute of

 limitations." (Br. 53); "Count Four failed to allege and prove the tax deficiency element."

 (Br. 53); "Springer claims the prosecution was unlawful without a U.S. Attorney to

 exercise the referral." (Br. 53); "Springer also claims District Judges Eagan and Friot

 were prevented from participating due to Judge Eagan's involvement in 03-cr-055."

 (Br. 53-54); "Springer claims the evidence was insufficient to establish beyond

 reasonable doubt each element of each offense alleged in Counts One through Six. The


        3
               Mr. Springer asserts that his appellate counsel was ineffective in Ground
 numbers 1 through 14, 28, 29, 30, 32 through 37, 39, 41through 44, 46, 48, 49, 51, 53
 through 67, and 75.

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 ‘required by law' duty was not shown. The Trial Court should have granted Judgment of

 Acquittal at any of the three times Springer requested it. . . . this Court should reverse

 dismiss [sic] each count as the evidence was insufficient." (Br. 54)

        Mr. Springer represented himself at trial, and represents himself on this petition

 pursuant to Section 2255 of Title 28 of the United States Code. As indicated previously,

 Jerold Barringer represented Mr. Springer on appeal from his conviction and sentence.

            ANALYSIS OF SPRINGER’S ASSERTED GROUNDS FOR RELIEF

        “Habeas review is an extraordinary remedy and ‘will not be allowed to do service

 for an appeal.’” Bousley v. United States, 523 U.S. 614, 621 (1998) (citations omitted).

 “Consequently ‘failure to raise an issue either at trial or on direct appeal imposes a

 procedural bar to habeas review.’” United States v. Cervini, 379 F.3d 987, 990 (10 th Cir.

 2004) (citing United States v. Barajas-Diaz, 313 F.3d 1242, 1245 (10 th Cir. 2002) and

 Bousley v. United States, 523 U.S. at 622).

        Although Mr. Springer purports to identify 76 separate grounds for relief,

 examination of these grounds reduces the actual number of distinct bases for relief to

 twenty: (1) the Court lacked jurisdiction; (2) the Internal Revenue Service lacked

 jurisdiction in the State of Oklahoma; (3) the Court’s jury instructions were erroneous;4

 (4) the Paperwork Reduction Act precluded the imposition of penalties; (5) Mr. Springer

 was the victim of selective prosecution; (6) the Court incorrectly calculated the tax loss


        4
                The Allen-charge issued by the Court during jury deliberations was not an
 issue identified in Mr. Springer’s appeal.

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 and sentencing guideline factors; (7) Mr. Springer did not knowingly and intelligently

 waive the right to counsel; (8) the Internal Revenue Code is unconstitutionally vague and

 ambiguous; (9) the requirement to file a tax return violates self-incrimination protections;

 (10) evidence should have been suppressed because it was obtained through an invalid

 search warrant; (11) the Indictment is defective; (12) the statute of limitations was

 violated; (13) the Speedy Trial Act was violated; (14) Mr. Springer did not receive notice

 of the Government’s Theory; (15) the Government’s use of a summary expert witness

 was improper; (16) the Court’s order of restitution to the Department of the Treasury and

 the State of Oklahoma was improper; (17) Mr. Springer’s prosecution was

 unconstitutional because President Barack Obama is ineligible to hold office; (18) the

 receipt of Federal Reserve Notes cannot constitute gross income; (19) appellate counsel

 provided ineffective assistance; and (20) the appellate court unconstitutionally limited the

 appellate brief to 14,000 words. With the exception of Mr. Springer’s assertions that

 appellate counsel provided ineffective assistance, and that the appellate court

 unconstitutionally limited his appellate brief, Mr. Springer raised, or could have raised,

 each of these issues at trial or on appeal. The table below provides a summary of

 Mr. Springer’s asserted issues, and where each issue was raised at trial, on direct appeal,

 or both.




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                             Asserted                Raised              Raised on
       Issue                 Ground(s) for relief    during trial        appeal
   1   Jurisdiction of the   1, 2, 3, 4, 66, 73,     Docs. 51, 280,      Brief at 3, 8-13,
       Court                 74, 76                  281, 282, 283,      33-34, 42-45,
                                                     284                 53;
                                                                         Reply Brief at
                                                                         1-15
   2   Jurisdiction of the   4, 5, 51, 54, 66, 74,   Doc. 51             Brief at 9-10,
       Internal Revenue      76                                          23-29, 31, 51;
       Service                                                           Reply Brief at
                                                                         1-7, 10, 13
   3   Jury instructions     30, 33, 34, 46, 48,     Doc. 128            Brief at 7-8, 36-
                             56, 57, 66, 76                              37, 39-45, 48;
                                                                         Reply Brief at
                                                                         19-24
   4   Paperwork             28, 29, 30, 31, 39,     Docs. 53, 54, 81    Brief at 3, 14-23
       Reduction Act         40, 66, 68, 76
   5   Selective             37, 66, 76              Springer admits     not raised
       prosecution                                   raised and denied
                                                     (Doc. 65, 66)
   6   Sentencing Issues     10, 11, 12, 13, 14,     Doc. 321            Brief at 3, 45-53
                             42, 43, 44, 55, 66,
                             67, 69, 71, 72, 75,
                             76
   7   Assistance of trial   31, 48, 57, 58, 66,     not raised          Brief at 39-45;
       counsel               76                                          Reply Brief at
                                                                         26-27
   8   18 U.S.C. § 371,      23, 24, 25, 26, 27,     Docs. 51, 280,      Brief at 3, 8-12,
       and 26 U.S.C. §§ 1,   47, 66, 76              281, 282, 283       25, 31; Reply
       6011, 6012(a)(1),                                                 Brief at 4-5, 14
       6091(a), 6091(b),
       6151, 7201 and
       7203 and related
       C.F.R. provisions
       unconstitutional


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   9   Self-incrimination   41, 66, 76               Docs. 59, 60        Brief at 15-19,
                                                                         23
  10   Invalid search       5, 6, 7, 8, 9, 52, 62,   Docs. 49, 74, 75,   Brief at 23-33,
       warrant -            66, 76                   76                  38;
       Suppression of                                                    Reply Brief at
       evidence                                                          1-3, 7-10
  11   Defective            15, 22, 32, 33, 34,      Doc. 396 -          Brief at 12-19,
       Indictment           45, 46, 64, 66, 70,      Springer’s trial    53; Reply Brief
                            76                       testimony           at 15-18
  12   Statute of           35, 36, 66, 76           Doc. 260            Brief at 35, 53
       limitations                                   (stricken)
  13   Speedy trial         64, 65, 66, 76           not raised          not raised
       violation
  14   No notice of         16, 17, 18, 19, 20,      not raised          Brief at 12-19,
       Government’s         21, 22, 23, 24, 25,                          53; Reply Brief
       theory               26, 27, 31, 32, 33,                          at 19-24
                            38, 40, 57, 64, 66,
                            68, 76
  15   Summary witness      53, 66, 76               Docs. 150, 168      Brief at 37
  16   Restitution          10, 11, 12, 13, 14,      not raised          not raised
       improper             39, 42, 43, 66, 69,
                            76
  17   President Obama      63, 66, 76               not raised          not raised
       ineligible to hold
       office
  18   Federal reserve      69, 70                   not raised          not raised
       notes cannot
       constitute income
  19   Ineffective          59, 60, 61, 66, 76       not raised          not raised
       assistance of
       appellate counsel
  20   Unconstitutional     49, 50, 66, 76           not raised          not raised
       restriction of
       appellate brief

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        The Government has also included an attachment that identifies and categorizes

 each of Mr. Springer’s 76 asserted grounds for relief, where the alleged new ground was

 raised at trial or on appeal, or indicating that it could or could not have been raised

 previously. Among the asserted grounds for relief is ground 73 which asserts

 Mr. Springer’s right to relief under Section 2255 of Title 28 of the United States Code.

 Doc. 472 at 83.

        Prior to this petition, Mr. Springer had not previously raised the allegation that his

 prosecution was prohibited because of Mr. Springer’s “information and belief” that the

 President of the United States “is not eligible to hold office” (see Ground 63). Also, Mr.

 Springer did not previously raise the allegation that there was a Speedy Trial Act

 violation (see Grounds 64 and 65), nor that his receipt of income in the form of Federal

 Reserve Notes negated his receipt of gross income (see Grounds 69 and 70). Finally, Mr.

 Springer did not previously raise objections to the restitution ordered by the Court.

 However, each of these grounds could have been raised in the underlying criminal

 proceedings, on direct appeal, or both.

        Mr. Springer’s 66th and 76th asserted grounds for relief each purport to reallege

 grounds 1 through 75. In his 66th asserted ground for relief, Mr. Springer asserts that

 “[e]ach ground collectively, in a cumulative way, deprived me of Due Process and the

 entire District and Appellate Court process was fundamentally unfair.” Doc. 472 at 76.

 In his 76th asserted ground for relief, Mr. Springer asserts that “the United States Judicial

 and Executive branches of Government, in respect to my liberty and property interests,

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 have acted in breach and total disregard to the conditions by which the United States

 received its enumerated powers as set forth in Grounds 1 through 75.” Doc. 472 at 86.

 The majority of grounds 66 and 76 were previously raised or could have been raised at

 trial and on appeal. However, as indicated above, Mr. Springer’s allegations that his

 appellate counsel rendered ineffective assistance and that the Tenth Circuit Court of

 Appeals unconstitutionally limited his appellate brief were not, and could not have been,

 previously raised.

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                                       CONCLUSION

         With the exception of Mr. Springer’s claims that appellate counsel provided

  ineffective assistance and that the Tenth Circuit Court of Appeals’ limitation of his

  appellate brief to 14,000 words was unconstitutional, each of the grounds identified by

  Mr. Springer has been raised previously, could have been raised previously, or both.

  Therefore, the United States respectfully submits that the Court should strike each of

  Mr. Springer’s asserted grounds for relief pursuant to Title 28, United States Code

  Section 2255, with the exception of his allegation that his appellate counsel rendered

  ineffective assistance, and his allegation that the Tenth Circuit Court of Appeals’ page

  limitation was unconstitutional.




                                            Respectfully submitted,
                                            DANNY WILLIAMS
                                            UNITED STATES ATTORNEY

                                               /s/ Charles A. O’Reilly
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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of September 2013, I electronically transmitted

  the foregoing document to the Clerk of Court using the ECF System for filing and

  transmittal of a Notice of Electronic Filing. I also served the foregoing document by

  United States Postal Mail to the following ECF registrant:

        Lindsey Kent Springer
        Defendant
        FCI Big Spring
        Federal Correctional Institution
        1900 Simler Ave
        Big Spring, TX 79720
        Inmate Number 02580-063.




                                            /s Charles A. O’Reilly
                                           Charles A. O’Reilly
                                           Special Assistant United States Attorney




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